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UN|TED STATES OF AlV|EF{iCA,
P|aintiff,

VS. CFt. NO. 02-20499-B

VC|PHER TECHNOLOG|ES, et al.,

Defendants.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 25, 2005. At that time counsel for the
government requested a continuance of the August f, 2005 trial date due to the
defendants fugitive status.

The Court granted the request and reset the trial date to September 6, 2005 With
a report date of IV|ondav. August 29. 2005. at 9:30 a.m., in Courtroom 1, 11th F|oor
of the Federal Building, Memphis, TN.

The period from August 12, 2005 through September 16, 2005 is excludable
under 18 U.S.C. § 3161(h)(1)(A) and (B) because the defendant is either absent or
unavailable and her presence cannot be determined or obtained by due diligencel

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lT is so oFtDEaED this l day orauiy, 2005.

 

J. o NIEL BREEN \
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Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:02-CR-20499 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

